    Case: 1:23-cv-16245 Document #: 45 Filed: 10/07/24 Page 1 of 5 PageID #:195



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


CARRIE SCHEUERMAN,                                  )
                                                    )
       Plaintiff,                                   )
                                                    )
                        v.                          )       Case No. 1:23-cv-16245
                                                    )
CENTRAL STATES PENSION FUND                         )       Magistrate Judge Heather McShain
                                                    )
       Defendant.                                   )
                                                    )


                                  JOINT STATUS REPORT

Plaintiff Carrie Scheuerman (“Plaintiff” or “Scheuerman”) and Defendant Central States Pension

Fund (“Defendant” or “Central States”) (collectively, the “Parties”), by and through their

respective attorneys, conferred as directed by this Court’s Order of September 16, 2024 (Dkt. #41)

and submit this Joint Status Report:

       (a)      Fact Discovery Remaining

       The Court previously set a fact discovery cutoff for October 4, 2024. For the reasons set

forth below, certain limited factual discovery remains to be completed.

                (i) Deposition(s) and Outstanding Medical Records - Plaintiff previously

disclosed three persons with knowledge of her claims in this litigation and Plaintiff’s religious

beliefs: her mother, sister, and boyfriend. Defendant deposed Plaintiff’s sister and mother on

September 24 and 25, 2024, respectively, and deposed Plaintiff’s boyfriend on October 4, 2024,

which date was rescheduled from September 26 due to the death of the witness’s mother.




                                                1
    Case: 1:23-cv-16245 Document #: 45 Filed: 10/07/24 Page 2 of 5 PageID #:196




       Pursuant to the Court’s September 10, 2024, Order (Dkt. #41), Defendant has been granted

leave to depose Plaintiff on October 29, 2024, after the close of fact discovery because Plaintiff

was unable to appear on September 20, 2024, for her previously noticed deposition.

       Additionally, as raised with the Court during the status hearing on August 9, 2024,

Defendant is unable to determine whether it will need to depose one or two of Plaintiff’s disclosed

medical doctors until after Plaintiff’s deposition on October 29, 2024. On October 1, 2024,

Plaintiff’s counsel advised that the primary care physician initially identified in Plaintiff’s

supplemental interrogatory responses as “Dr. Thain,” and subsequently identified by counsel as

“Dr. Robert Thain,” is, in fact, Dr. Dennis Thain. Defendant has now located Dr. Dennis Thain at

a medical practice in Taylor, MI, and has requested Plaintiff’s medical records from his current

clinic in Taylor, MI, as well as his former practice in Beach Park, IL. Those requests are in process.

       Given the above, Defendant seeks leave to potentially depose up to two of Plaintiff’s

medical providers after Plaintiff’s deposition on October 29, 2024. Allowing for the Thanksgiving

holiday, Defendant requests that it be allowed until December 13, 2024, to complete any

depositions of Plaintiff’s medical providers. Defendant also requests leave to propound

supplemental document requests to the extent Plaintiff raises a new allegation or issue during her

deposition.

       Plaintiff did not notice any depositions.

               (ii) Plaintiff’s Social Media Postings – In Plaintiff’s initial written discovery

responses she failed to disclose and produce responsive social media posts related to her religious

beliefs and/or her views on vaccines, manufactured medications, and/or the Covid-19 pandemic.

In Plaintiff’s supplemental discovery response on August 29, 2024, she provided only a link to

Plaintiff’s Facebook profile. However, because Plaintiff’s Facebook page/account is private,



                                                   2
    Case: 1:23-cv-16245 Document #: 45 Filed: 10/07/24 Page 3 of 5 PageID #:197




Defendant was unable to access or view any of Plaintiff’s posts or activity on Facebook. During

the deposition on September 24, 2024, Plaintiff’s sister testified that Plaintiff has made posts on

Facebook regarding at least her religious beliefs. As such, on September 24, 2024, immediately

following the sister’s deposition, counsel for Defendant emailed Plaintiff’s counsel regarding the

testimony and reiterating that Defendant seeks for Plaintiff to supplement again her response to

Defendant’s First for Production of Documents with a download of Plaintiff’s Facebook history

that can be reviewed, to include any posts through the present pertaining to Plaintiff’s religious

beliefs, the COVID-19 vaccines or pandemic, her use or objection to vaccines and manufactured

medications, and the basis for such objections, or otherwise related to Plaintiff’s claims in the

Complaint. Counsel for Defendant also include in the email available online instructions for how

one may easily download their Facebook page/account history, and asked Plaintiff counsel to

advise if there is any reason Plaintiff is not able to produce a download of her Facebook history

by October 1, 2024, in order to resolve any issue /disagreement before raising it in the next status

report to the Court. At 3:52 p.m. on October 7, 2024, Plaintiff’s counsel advised via email that

Plaintiff is working on locating and retrieving “responsive information regarding her social media

account” and Plaintiff “will have that to [Defendant] by close of business on Friday.”

       (b)     Expert Discovery.

       Plaintiff does not intend to pursue expert discovery. Defendant requests to revisit the issue

at a further status hearing after completing Plaintiff’s deposition on October 29, 2024.

       (c)     Settlement Conference.

       The parties do not request a settlement conference at this time but may revisit the issue

after depositions are completed. In the event the parties decide to request a settlement conference,




                                                 3
      Case: 1:23-cv-16245 Document #: 45 Filed: 10/07/24 Page 4 of 5 PageID #:198




given that this is a consent case, the parties would prefer to have a different judge preside over any

settlement conference in the future.

        (d)    Dispositive Motion or Trial Date.

        The parties respectfully request to revisit the setting of a dispositive motion schedule and/or

trial date until after all depositions are concluded. However, should the Court wish to set a

dispositive motion schedule now, then consistent with the above request to complete the

depositions of Plaintiff’s medical providers by December 13, 2024, the parties would propose the

following schedule:

                        Dispositive motions due by January 24, 2025;

                        Responses in opposition due by February 21, 2025; and

                        Reply briefs in support due by March 7, 2025.



(d)     Additional Issues for the Court’s Review.

        None at this time.



Dated: October 7, 2024

Respectfully submitted,                                Respectfully submitted,

/s/ Ethan Zelizer                                      /s/ Michael S. Ferrell
Ethan Zelizer                                          Michael S. Ferrell
HR Law Counsel, LLC                                    Daniel R. Simandl
29 S. Webster Street, Suite 350-C                      Epstein Becker & Green, P.C.
Naperville, IL 60540                                   227 W. Monroe Street, Suite 3250
Tel: 630.551.8374                                      Chicago, IL 60606
ethan@hrlawcounsel.com                                 Tel: 312-499.1480
                                                       mferrell@ebglaw.com
                                                       dsimandl@ebglaw.com

Attorney for Plaintiff                                 Attorneys for Defendant



                                                  4
    Case: 1:23-cv-16245 Document #: 45 Filed: 10/07/24 Page 5 of 5 PageID #:199



                                  CERTIFICATE OF SERVICE
       The undersigned, an attorney, certifies that on this 7th day of October, 2024, he caused a

copy of the foregoing Joint Status Report to be electronically filed with the Clerk of the U.S.

District Court, Northern District of Illinois, using the CM/ECF (electronic case filing) system,

which will send notification of such filing via email to the following ECF participants:

       Ethan G. Zelizer
       HR Law Counsel, LLC
       29 South Webster Street
       Suite 350-C
       Naperville, IL 60540
       ethan@hrlawcounsel.com



                                             /s/ Michael S. Ferrell
                                             Michael S. Ferrell, Attorney for Defendant




                                                 5
